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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Shawn Jensen,                                  No. CV-12-00601-PHX-ROS
10                  Plaintiff,                      ORDER
11   v.
12   David Shinn,
13                  Defendant.
14
15         On November 14, 2021, the parties filed a discovery dispute involving Plaintiffs’
16   Request for Production 21. (Doc. 4171). That request sought documents regarding the

17   number of prisoners on mental health watch and their length of stay. In response,
18   Defendants produced “monthly suicide watch logs.” (Doc. 4171 at 3). Defendants did

19   not, however, produce documents ultimately mentioned by Dr. Stephanie Platt during her

20   testimony. Dr. Platt explained that she created documents which identified, among other
21   things, the prisoners who “were on watch for more of a prolonged period of time.” (Doc.
22   4171 at 2). Plaintiffs now believe they are entitled to the documents referenced by Dr.

23   Platt while Defendants disagree. The documents are responsive to RFP 21, should have

24   been produced earlier, and Defendants will be required to produce them immediately.

25         Based on the Court’s preexisting and unavoidable commitments, the dates for the

26   remainder of trial are the following, if necessary: November 16, 17, 18, 19; December 7,
27   13, 14, and 15.
28         Accordingly,
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 1         IT IS ORDERED Defendants shall produce the documents referenced by Dr.
 2   Platt no later than noon on November 17, 2021.
 3         IT IS FURTHER ORDERED the remaining dates for the trial are November 16,
 4   17, 18, 19; December 7, 13, 14, and 15.
 5         Dated this 16th day of November, 2021.
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 8                                                    Honorable Roslyn O. Silver
 9                                                    Senior United States District Judge

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